Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 1 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 2 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 3 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 4 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 5 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 6 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 7 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 8 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 9 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 10 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 11 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 12 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 13 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 14 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 15 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 16 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 17 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 18 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 19 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 20 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 21 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 22 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 23 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 24 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 25 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 26 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 27 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 28 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 29 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 30 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 31 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 32 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 33 of 34




                                                                                Exhibit 1
Case 0:21-cv-62276-BB Document 1-2 Entered on FLSD Docket 11/03/2021 Page 34 of 34




                                                                                Exhibit 1
